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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA



UNITED STATES OF AMERICA              :              CRIMINAL ACTION
                                      :
           v.                         :
                                      :
JOHN P. KAROLY, JR.                   :              NO.: 08-cr-0592-ALL


                                 ORDER

           AND NOW, this 20th day of NOVEMBER 2018, it is hereby

           ORDERED that the above-captioned case is reassigned at random

pursuant to Local Rule 50.1 of the Local Rules of Criminal Procedure from the

calendar of the Honorable Lawrence F. Stengel, to the calendar of the

Honorable Edward G. Smith.

                                          FOR THE COURT:



                                          /s/ Juan R. Sánchez
                                          JUAN R. SÁNCHEZ
                                          Chief Judge
